                Case 16-16602-btb        Doc 78     Entered 07/30/17 22:15:43        Page 1 of 5
                                      United States Bankruptcy Court
                                           District of Nevada
In re:                                                                                 Case No. 16-16602-btb
BRANDON MICHAEL D’HAENENS                                                              Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0978-2          User: youngbloo              Page 1 of 3                   Date Rcvd: Jul 28, 2017
                              Form ID: 318                 Total Noticed: 55


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 30, 2017.
db             +BRANDON MICHAEL D’HAENENS,    609 LOS FELIZ ST.,    LAS VEGAS, NV 89110-4209
aty            +BOB L. OLSON,    SNELL & WILMER L.L.P.,    3883 HOWARD HUGHES PKWY, STE 1100,
                 LAS VEGAS, NV 89169-0965
aty            +CHARLES E. GIANELLONI,    SNELL WILMER, LLP,    3883 HOWARD HUGHES PARKWAY, SUITE 1100,
                 LAS VEGAS, NV 89169-0965
aty            +DAVID J. WINTERTON,    1140 N TOWN CENTER DR, STE 120,    LAS VEGAS, NV 89144-0605
aty            +JACOB L. HOUMAND,    NELSON & HOUMAND P.C.,    1180 North Town Center Drive, Suite 100,
                 Las Vegas, NV 89144-6363
aty            +JUSTIN L. CARLEY,    SNELL & WILMER L.L.P.,    3883 HOWARD HUGHES PARKWAY,     SUITE 1100,
                 LAS VEGAS, NV 89169-0965
aty            +KYLE J. ORTIZ,    NELSON AND HOUMAND P.C.,    1180 North Town Center Drive, Suite 100,
                 Las Vegas, NV 89144-6363
aty            +NELSON & HOUMAND, P.C.,    3900 PARADISE RD,    LAS VEGAS, NV 89169-0931
aty            +WHITNEY B. WARNICK,    ALBRIGHT STODDARD WARNICK & ALBRIGHT,     801 S. RANCHO DR., SUITE D4,
                 LAS VEGAS, NV 89106-3807
cr             +CHAYSE MYERS,    C/O SNELL & WILMER L.L.P.,    ATTN: BOB L. OLSON, ESQ.,
                 3883 HOWARD HUGHES PKWY #1100,    LAS VEGAS, NV 89169-0965
cr             +HALF DENTAL FRANCHISE, LLC,    C/O SNELL & WILMER L.L.P.,     ATTN: BOB L. OLSON,
                 3883 HOWARD HUGHES PKWY #1100,    LAS VEGAS, NV 89169-0965
cr             +HDM, LLC,    C/O SNELL & WILMER L.L.P.,    ATTN: BOB L. OLSON, ESQ.,
                 3883 HOWARD HUGHES PKWY #1100,    LAS VEGAS, NV 89169-0965
cr             +MATT BAKER,    C/O SNELL & WILMER L.L.P.,    ATTN: BOB L. OLSON, ESQ.,
                 3883 HOWARD HUGHES PKWY #1100,    LAS VEGAS, NV 89169-0965
9976572        +AIREEN WILLIAMSON,    420 S. JONES BLVD,    Las Vegas, NV 89107-2658
10080638       +Adam Polan,    c/o Michael F. Lynch,    Lynch Law Practice, PLLC,    3613 S. Eastern Ave,
                 Las Vegas, NV 89169-3344
10149351       +Arizona Department of Revenue,    1275 W Washington St,     Phoenix, AR 85007-2926
10064029       +CHAYSE MYERS,    C/O SNELL & WILMER L.L.P.,    ATTN CHARLES E GIANELLONI ESQ,
                 3883 HOWARD HUGHES PARKWAY, SUITE 1100,     LAS VEGAS, NV 89169-0965
9976565         CLARK COUNTY TREASURER,    BOX 551220,    500 SOUTH GRAND CENTRAL PKWY,
                 Las Vegas, NV 89155-1220
9976564         Clark County Assessor,    500 S. Grand Centra Parkway, 2nd Floor,     Las Vegas, NV 89151-4010
9976566        +DEPT OF EMPLOYMENT, TRAINING & REHAB,     EMPLOYMENT SECURITY DIVISION,    500 EAST THIRD STREET,
                 Carson City, NV 89713-0002
9976567         DEPT OF MOTOR VEHICLES,    PUBLIC SAFETY RECORDS DIVISION,     555 WRIGHT WAY,
                 Carson City, NV 89711-0001
9976578        +FIRST PROGRESS,    Acct No xxxx xxxx xxxx 0743,    P.O. BOX 9053,    Johnson City, TN 37615-9053
9976577        +FIRST PROGRESS,    Acct No xxxx xxxx xxxx 8760,    P.O. BOX 9053,    Johnson City, TN 37615-9053
9976579         GEORGE DOTY,    4628 ROYAL RIDGEWAY,    Las Vegas, NV 89103
10115701       +George E. Doty,    4628 Royal Ridge Way,    Las Vegas, Nevada 89103-5033
10064032       +HALF DENTAL FRANCHISE, LLC,    C/O SNELL & WILMER L.L.P.,     ATTN CHARLES E GIANELLONI,
                 3883 HOWARD HUGHES PARKWAY, SUITE 1100,     LAS VEGAS, NV 89169-0965
10064033       +HDM, LLC,    C/O SNELL & WILMER L.L.P.,    ATTN: CHARLES E. GIANELLONI,
                 3883 HOWARD HUGHES PARKWAY, SUITE 1100,     LAS VEGAS, NV 89169-0965
9976581        +Idaho State Tax Commission,    PO Box 56,    Boise, ID 83756-0056
9976583        +JOHN MUIJE,    Acct No YELLOW PAGES,    1320 S. CASINO CENTER BLVD,    Las Vegas, NV 89104-1106
9976584        +KOLESAR & LEATHAM,    400 S. RAMPART #400,    Las Vegas, NV 89145-5725
10031511       +LAS VEGAS AIRCRAFT SALES,    2810 Perimeter Rd # 102,    North Las Vegas, NV 89032-4308
9976585        +LAS VEGAS WATER DISTRICT,    1001 S. VALLEY VIEW BLVD,    Las Vegas, NV 89107-4447
10064034       +MATT BAKER,    C/O SNELL & WILMER L.L.P.,    ATTN: CHARLES E. GIANELLONI,
                 3883 HOWARD HUGHES PARKWAY, SUITE 1100,     LAS VEGAS, NV 89169-0965
10009398       +MICHAEL F. LYNCH,    LYNCH LAW PRACTICE, PLLC,    3613 S. EASTERN AVE.,
                 LAS VEGAS, NV 89169-3344
10008465        MICHAEL F. LYNCH,    6313 S. EASTERN AVE,    LAS VEGAS NV 89169
9976570         OFFICE OF U.S. TRUSTEE,    OFFICE OF U.S. TRUSTEE,    Las Vegas, NV 89101-6637
9976587        +STEVE SIMMONS,    1224 N.E. WALNUT STREET # 173,    Roseburg, OR 97470-2026
9991917        +WHITNEY B. WARNICK, ESQ,    G. MARK ALBRIGHT, ESQ.,    ALBRIGHT STODDARD WARNICK & ALBRIGHT,
                 801 SO RANCHO DR, STE D-4,    LAS VEGAS, NV 89106-3807
9976588        +YELLOW PAGES,    1320 S. CASINO CENTER BLVD,    Las Vegas, NV 89104-1106
10116813       +Yellow Book Sales and Distribution Company, Inc.,     John W. Muije & Associates,
                 1840 E. Sahara Ave #106,    Las Vegas, NV 89104-3742

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BSDKROHN.COM Jul 29 2017 01:28:00     SHELLEY D KROHN,    510 S 8TH STREET,
                 LAS VEGAS, NV 89101-7003
ust            +E-mail/Text: USTPRegion17.LV.ECF@usdoj.gov Jul 29 2017 01:38:53      U.S. TRUSTEE - LV - 7,
                 300 LAS VEGAS BOULEVARD, SO.,   SUITE 4300,   LAS VEGAS, NV 89101-5803
9976573        +EDI: AZDEPREV.COM Jul 29 2017 01:28:00     Arizona Department of Revenue,    1600 W Monroe St,
                 Phoenix, AZ 85007-2650
9976574        +EDI: CAPITALONE.COM Jul 29 2017 01:28:00     CAPITAL ONE,    Acct No xxxx xxxx xxxx 7750,
                 P.O. BOX 60599,   CITY OF INDUSTRY, CA 91716-0599
9976575        +E-mail/Text: c.damus@damuslaw.com Jul 29 2017 01:38:56      CHARLES DAMUS,   624 S. 6TH ST.,
                 Las Vegas, NV 89101-6920
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                                      Form ID: 318                       Total Noticed: 55


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
9976576        +EDI: RCSFNBMARIN.COM Jul 29 2017 01:28:00      CREDIT ONE,    P.O. BOX 98873,
                 Las Vegas, NV 89193-8873
10045395        EDI: CAPITALONE.COM Jul 29 2017 01:28:00      Capital One Bank (USA), N.A.,    PO Box 71083,
                 Charlotte, NC 28272-1083
10058469       +E-mail/Text: bankruptcy@cavps.com Jul 29 2017 01:39:04      Cavalry SPV I, LLC,
                 500 Summit Lake Drive, Ste 400,    Valhalla, NY 10595-1340
9976568         EDI: IRS.COM Jul 29 2017 01:28:00      IRS,   110 CITY PARKWAY,    Las Vegas, NV 89106
9976569        +E-mail/Text: tax-bankruptcy@tax.state.nv.us Jul 29 2017 01:39:05       NEVADA DEPT OF TAXATION,
                 BANKRUPTCY SECTION,   555 E WASHINGTON AVE #1300,    Las Vegas, NV 89101-1046
10045468       +EDI: RESURGENT.COM Jul 29 2017 01:28:00      PYOD, LLC its successors and assigns as assignee,
                 of FNBM, LLC,   Resurgent Capital Services,    PO Box 19008,    Greenville, SC 29602-9008
10039275        EDI: Q3G.COM Jul 29 2017 01:28:00      Quantum3 Group LLC as agent for,    MidCountry Bank,
                 PO Box 788,   Kirkland, WA 98083-0788
9976586        +E-mail/Text: RSSNBankruptcy@repsrv.com Jul 29 2017 01:38:57       REPUBLIC SERVICES,
                 P.O. BOX 78829,   Phoenix, AZ 85062-8829
10027714       +E-mail/Text: RSSNBankruptcy@repsrv.com Jul 29 2017 01:38:57       Republic Services,
                 770 E Sahara Ave,   Las Vegas, NV 89104-2943
9976571        +E-mail/Text: sanfrancisco.bnc@ssa.gov Jul 29 2017 01:39:10       Social Security Administration,
                 160 Spear Street, Suite 800,    San Francisco, CA 94105-1545
                                                                                              TOTAL: 15

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                 ADAM POLAN
cr                 GEORGE E. DOTY
cr                 SEVERN P. BIZZARO
intp               STEVEN P. SIMMONS
aty*              +MICHAEL F LYNCH,   LYNCH LAW PRACTICE, PLLC,   3613 S. EASTERN AVE.,   LAS VEGAS, NV 89169-3344
9976582*         ++INTERNAL REVENUE SERVICE,   CENTRALIZED INSOLVENCY OPERATIONS,   PO BOX 7346,
                    PHILADELPHIA PA 19101-7346
                  (address filed with court: IRS,    110 CITY PARKWAY,   Las Vegas, NV 89106)
9976580         ##+HALF DENTAL FRANCHISE LLC,   780 N. 2860 E,   Saint George, UT 84790-8706
                                                                                               TOTALS: 4, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 30, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 28, 2017 at the address(es) listed below:
              BOB L. OLSON    on behalf of Creditor   HALF DENTAL FRANCHISE, LLC bolson@swlaw.com,
               mfull@swlaw.com;jmath@swlaw.com;docket_las@swlaw.com;jvelarde@swlaw.com;cgianelloni@swlaw.com;nka
               nute@swlaw.com
              BOB L. OLSON    on behalf of Creditor CHAYSE MYERS bolson@swlaw.com,
               mfull@swlaw.com;jmath@swlaw.com;docket_las@swlaw.com;jvelarde@swlaw.com;cgianelloni@swlaw.com;nka
               nute@swlaw.com
              BOB L. OLSON    on behalf of Creditor MATT BAKER bolson@swlaw.com,
               mfull@swlaw.com;jmath@swlaw.com;docket_las@swlaw.com;jvelarde@swlaw.com;cgianelloni@swlaw.com;nka
               nute@swlaw.com
              BOB L. OLSON    on behalf of Creditor   HDM, LLC bolson@swlaw.com,
               mfull@swlaw.com;jmath@swlaw.com;docket_las@swlaw.com;jvelarde@swlaw.com;cgianelloni@swlaw.com;nka
               nute@swlaw.com
              CHARLES E. GIANELLONI    on behalf of Plaintiff   HDM, LLC cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              CHARLES E. GIANELLONI    on behalf of Creditor CHAYSE MYERS cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
              CHARLES E. GIANELLONI    on behalf of Creditor    HDM, LLC cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
              CHARLES E. GIANELLONI    on behalf of Creditor    HALF DENTAL FRANCHISE, LLC cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
              CHARLES E. GIANELLONI    on behalf of Plaintiff    HALF DENTAL FRANCHISE, LLC cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
              CHARLES E. GIANELLONI    on behalf of Creditor MATT BAKER cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
              CHARLES E. GIANELLONI    on behalf of Plaintiff    CHAYSE MYERS cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
              CHARLES E. GIANELLONI    on behalf of Plaintiff MATT BAKER cgianelloni@swlaw.com,
               jmath@swlaw.com;mfull@swlaw.com;jvelarde@swlaw.com
              DAVID J. WINTERTON    on behalf of Debtor BRANDON MICHAEL D’HAENENS david@davidwinterton.com,
               christy@davidwinterton.com;tennille@davidwinterton.com;Julie@davidwinterton.com
              JACOB L. HOUMAND    on behalf of Trustee SHELLEY D KROHN jhoumand@nelsonhoumand.com,
               vnelson@nelsonhoumand.com;kortiz@nelsonhoumand.com
              JUSTIN L. CARLEY    on behalf of Creditor CHAYSE MYERS jcarley@swlaw.com,
               jforrest@swlaw.com;DOCKET_LAS@swlaw.com
              JUSTIN L. CARLEY    on behalf of Creditor    HDM, LLC jcarley@swlaw.com,
               jforrest@swlaw.com;DOCKET_LAS@swlaw.com
              JUSTIN L. CARLEY    on behalf of Creditor    HALF DENTAL FRANCHISE, LLC jcarley@swlaw.com,
               jforrest@swlaw.com;DOCKET_LAS@swlaw.com
              JUSTIN L. CARLEY    on behalf of Creditor MATT BAKER jcarley@swlaw.com,
               jforrest@swlaw.com;DOCKET_LAS@swlaw.com
              KYLE J. ORTIZ    on behalf of Trustee SHELLEY D KROHN kortiz@nelsonhoumand.com,
               jhoumand@nelsonhoumand.com;vnelson@nelsonhoumand.com;cgauss@nelsonhoumand.com
              MICHAEL F LYNCH    on behalf of Creditor ADAM POLAN Michael@LynchLawPractice.com,
               lynchonline@gmail.com;admin@lynchlawpractice.com;christina@lynchlawpractice.com
              SHELLEY D KROHN    shelley@trusteekrohn.com,
               NV27@ecfcbis.com;becca@trusteekrohn.com;jan@trusteekrohn.com
              U.S. TRUSTEE - LV - 7    USTPRegion17.LV.ECF@usdoj.gov
              WHITNEY B. WARNICK    on behalf of Interested Party STEVEN P. SIMMONS wbw@albrightstoddard.com,
               cgrey@albrightstoddard.com;bclark@albrightstoddard.com
              WHITNEY B. WARNICK    on behalf of Creditor SEVERN P. BIZZARO wbw@albrightstoddard.com,
               cgrey@albrightstoddard.com;bclark@albrightstoddard.com
              WHITNEY B. WARNICK    on behalf of Creditor GEORGE E. DOTY wbw@albrightstoddard.com,
               cgrey@albrightstoddard.com;bclark@albrightstoddard.com
                                                                                              TOTAL: 25
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Information to identify the case:
Debtor 1               BRANDON MICHAEL D'HAENENS                                   Social Security number or ITIN   xxx−xx−5327
                       First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Nevada

Case number: 16−16602−btb



Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           BRANDON MICHAEL D'HAENENS

                                                                           By the court:              Mary A. Schott
           7/28/17                                                                                    Clerk of Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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